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BTXN222 5/21

Leinart Law Firm
10670 N Central Expy Ste 320
Dallas, TX 75231-2173
Bar Number: 00794156
Phone: (469) 232-3328
Email: marcus@leinartlaw.com
                                           IN THE UNITED STATES BANKRUPTCY COURT
                                             FOR THE NORTHERN DISTRICT OF TEXAS
                                                     FORT WORTH DIVISION

In re: Lockridge, Vincente Dwyne                         xxx-xx-6931        *            Case No.: 23-41975-MXM-13
       4328 Endicott Dr
                                                                            *            Date 07/07/2023
       Grand Prairie, TX 75052
                                                                            *            Chapter 13
                                                                            *

                                                                            *
                                             Debtor(s)

                                                 DEBTOR'S(S') CHAPTER 13 PLAN
                                              (CONTAINING A MOTION FOR VALUATION)

                                                                 DISCLOSURES

✔ This Plan does not contain any Nonstandard Provisions.
❑
❑ This Plan contains Nonstandard Provisions listed in Section III.
❑ This Plan does not limit the amount of a secured claim based on a valuation of the Collateral for the claim.
✔ This Plan does limit the amount of a secured claim based on a valuation of the Collateral for the claim.
❑
This Plan does not avoid a security interest or lien.

Language in italicized type in this Plan shall be as defined in the “General Order 2021-05, Standing Order Concerning Chapter 13 Cases” and as
it may be superseded or amended (“General Order”). All provisions of the General Order shall apply to this Plan as if fully set out herein.




                                                                         Page 1

Plan Payment:       $375.00                       Value of Non-exempt property per § 1325(a)(4):      $6,848.00

Plan Term:        60 months                       Monthly Disposable Income per § 1325(b)(2):         $91.91

Plan Base:       $22,500.00                       Monthly Disposable Income x ACP (“UCP”):         $5,514.60

Applicable Commitment Period: 60 months
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                  ANY OBJECTION TO CONFIRMATION OF THE CHAPTER 13 PLAN AND/OR MOTION
                     FOR VALUATION MUST BE FILED AND SERVED ON THE DEBTOR, DEBTOR’S
                  COUNSEL, AND THE TRUSTEE NO LATER THAN 21 DAYS AFTER THE NOTICE OF
                     THE CONFIRMATION HEARING IS FILED AND SERVED IN THE FORT WORTH
                  DIVISION, AND NO LATER THAN 7 DAYS PRIOR TO THE TRUSTEE’S PRE-HEARING
                   CONFERENCE IN THE ABILENE, AMARILLO, DALLAS, LUBBOCK, SAN ANGELO
                                       AND WICHITA FALLS DIVISIONS.

                                                         MOTION FOR VALUATION

Pursuant to Bankruptcy Rule 3012, for purposes of 11 U.S.C. § 506(a) and § 1325(a)(5) and for purposes of determination of the amounts to be
distributed to holders of secured claims who do not accept the Plan, Debtor(s) hereby move(s) the Court to value the Collateral described in
Section I, Part E.(1) and Part F of the Plan at the lesser of the value set forth therein or any value claimed on the proof of claim.


                                                     SECTION I
                                 DEBTOR’S(S’) CHAPTER 13 PLAN - SPECIFIC PROVISIONS
                                                FORM REVISED 5/12/21

A.     PLAN PAYMENTS:

             Debtor(s) propose(s) to pay to the Trustee the sum of:

                   $375.00       per month, months       1   to    60    .

             For a total of   $22,500.00      (estimated “Base Amount”).

             First payment is due     08/06/2023     .

             The applicable commitment period (“ACP”) is      60      months.

             Monthly Disposable Income (“DI”) calculated by Debtor(s) per §1325(b)(2) is:        $91.91

             The Unsecured Creditors’ Pool (“UCP”), which is DI x ACP, as estimated by the Debtor(s), shall be no less than:
                 $5,514.60    .

             Debtor’s(s’) equity in non-exempt property, as estimated by Debtor(s) per §1325(a)(4), shall be no less than:     $6,848.00

B.     STATUTORY, ADMINISTRATIVE AND DSO CLAIMS:

             1.    CLERK’S FILING FEE: Total filing fees paid through the Plan, if any, are                    and shall be paid in full prior to
                   disbursements to any other creditor.

             2.    STATUTORY TRUSTEE’S PERCENTAGE FEE(S) AND NOTICING FEES: Trustee’s Percentage Fee(s) and any noticing
                   fees shall be paid first out of each receipt as provided in General Order 2021-05 (as it may be superseded or amended) and
                   28 U.S.C. § 586(e)(1) and (2).

             3.    DOMESTIC SUPPORT OBLIGATIONS: The Debtor is responsible for paying any Post-petition Domestic Support Obligation
                   directly to the DSO claimant. Prepetition Domestic Support Obligations per Schedule “E/F” shall be paid in the following
                   monthly payments:

DSO CLAIMANTS                                SCHED. AMOUNT                   %          TERM (APPROXIMATE)          TREATMENT
                                                                                        (MONTHS   TO    )           $       PER MO.




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C.      ATTORNEY FEES:            To                       Leinart Law Firm                       , total:   $4,250.00      *;
              $0.00              Pre-petition;        $4,250.00        disbursed by the Trustee.

* The Attorney fees include (check all appropriate boxes):
✔ Standard Fee
❑                                 ❑ Business Standard Fee
❑ Additional Fee for Motion to Extend/Impose the Automatic Stay
❑ Additional Fee for Case in which Debtor will receive F.R.Bank.P Rule 3002.1 notices


D.(1) (1) PRE-PETITION MORTGAGE ARREARAGE:

MORTGAGEE                              SCHED. ARR. AMT          DATE ARR. THROUGH         %             TERM (APPROXIMATE)          TREATMENT
                                                                                                        (MONTHS   TO    )




D.(2) (2) CURRENT POST-PETITION MORTGAGE PAYMENTS DISBURSED BY THE TRUSTEE IN A CONDUIT CASE:

MORTGAGEE                                           # OF PAYMENTS                CURRENT POST-PETITION                   FIRST CONDUIT PAYMENT
                                                    PAID BY TRUSTEE              MORTGAGE PAYMENT AMOUNT                 DUE DATE (MM-DD-YY)




D.(3) POST-PETITION MORTGAGE ARREARAGE:

MORTGAGEE                              TOTAL AMT                DUE DATE(S)               %             TERM (APPROXIMATE)          TREATMENT
                                                                (MM-DD-YY)                              (MONTHS   TO    )




E.(1)   SECURED CREDITORS-PAID BY THE TRUSTEE:

A.
CREDITOR / COLLATERAL                             SCHED. AMT.            VALUE            %             TERM (APPROXIMATE)          TREATMENT
                                                                                                        (MONTHS   TO    )           Per Mo




B.
CREDITOR / COLLATERAL                             SCHED. AMT.            VALUE            %                                         TREATMENT
                                                                                                                                    Pro-rata

Crescent Bank & Trust, Inc.
2015 Chevrolet Camaro SS
VIN: 2G1FH1EJ4F9132678                            $12,216.94             $17,800.00       9.00%                                     Pro-Rata

To the extent the value amount in E.(1) is less than the scheduled amount in E.(1), the creditor may object. In the event a creditor objects to the
treatment proposed in paragraph E.(1), the Debtor(s) retain(s) the right to surrender the Collateral to the creditor in satisfaction of the creditor’s
claim.

E.(2)   SECURED 1325(a)(9) CLAIMS PAID BY THE TRUSTEE - NO CRAM DOWN:

A.
CREDITOR                      COLLATERAL                          SCHED. AMT.             %             TERM (APPROXIMATE)          TREATMENT
                                                                                                        (MONTHS   TO    )           Per Mo




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CREDITOR                    COLLATERAL                           SCHED. AMT.              %           TERM (APPROXIMATE)           TREATMENT
                                                                                                      (MONTHS   TO    )            Per Mo


B.
CREDITOR                    COLLATERAL                           SCHED. AMT.              %                                        TREATMENT
                                                                                                                                   Pro-rata




The valuation of Collateral set out in E.(1) and the interest rate to be paid on the above scheduled claims in E.(1) and E.(2) will be finally
determined at confirmation. The allowed claim amount will be determined based on a timely filed proof of claim and the Trustee’s
Recommendation Concerning Claims (“TRCC”) or by an order on an objection to claim.

Absent any objection to the treatment described in E.(1) or E.(2), the creditor(s) listed in E.(1) and E.(2) shall be deemed to have accepted the
Plan per section 1325(a)(5)(A) of the Bankruptcy Code and to have waived its or their rights under section 1325(a)(5)(B) and (C) of the
Bankruptcy Code.

F.     SECURED CREDITORS - COLLATERAL TO BE SURRENDERED:

CREDITOR                                  COLLATERAL                         SCHED. AMT                    VALUE                   TREATMENT




Upon confirmation, pursuant to 11 U.S.C. § 1322 (b)(8), the surrender of the Collateral described herein will provide for the payment of all or part
of a claim against the Debtor(s) in the amount of the value given herein.

The valuation of Collateral in F. will be finally determined at confirmation. The allowed claim amount will be determined based on a timely filed
proof of claim and the Trustee’s Recommendation Concerning Claims (“TRCC”) or by an order on an objection to claim.

The Debtor(s) request(s) that the automatic stay be terminated as to the surrendered Collateral. If there is no objection to the surrender, the
automatic stay shall terminate and the Trustee shall cease disbursements on any secured claim which is secured by the Surrendered Collateral,
without further order of the Court, on the 7th day after the date the Plan is filed. However, the stay shall not be terminated if the Trustee or
affected secured lender files an objection in compliance with paragraph 8 of the General Order until such objection is resolved.

Nothing in this Plan shall be deemed to abrogate any applicable non-bankruptcy statutory or contractual rights of the Debtor(s).

G.     SECURED CREDITORS-PAID DIRECT BY DEBTOR:

CREDITOR                                              COLLATERAL                                            SCHED. AMT

                                                      2015 NISSAN ALTIMA
Owings Auto Centers                                   SON DRIVES AND PAYS FOR VEHICLE                       $4,602.00

H.     PRIORITY CREDITORS OTHER THAN DOMESTIC SUPPORT OBLIGATIONS:

CREDITOR                                       SCHED. AMT.                   TERM (APPROXIMATE)                          TREATMENT
                                                                             (MONTHS   TO    )




I.     SPECIAL CLASS:

CREDITOR                                       SCHED. AMT.                   TERM (APPROXIMATE)                          TREATMENT
                                                                             (MONTHS   TO    )




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JUSTIFICATION:




J.       UNSECURED CREDITORS:

CREDITOR                                      SCHED. AMT                      COMMENT

Affirm, Inc.                                  $167.00

Affirm, Inc.                                  $77.00

Affirm, Inc.                                  $53.00

Affirm, Inc.                                  $52.00

Bank of America                               $747.00

Comenity/Cosmo Prof                           $0.00

Credit One Bank                               $651.00

Credit One Bank                               $0.00

Crest Financial                               $0.00

Crest Financial                               $0.00

DSRM Nat Bank/Valero                          $485.00

Midland Funding/Midland Credit Mgmt           $489.00

Navy FCU                                      $6,303.00

Navy FCU

Personify Financial                           $0.00

Pnix Rec Grp                                  $16,872.00

Possible Finance                              $0.00

Westcreek Fi                                  $0.00

Westcreek Fi                                  $0.00


TOTAL SCHEDULED UNSECURED:                       $25,896.00

The Debtor’s(s’) estimated (but not guaranteed) payout to unsecured creditors based on the scheduled amount is   1.04%   .

General unsecured claims will not receive any payment until after the order approving the TRCC becomes final.

K.       EXECUTORY CONTRACTS AND UNEXPIRED LEASES:

§ 365 PARTY                     ASSUME/REJECT              CURE AMOUNT                TERM (APPROXIMATE)            TREATMENT
                                                                                      (MONTHS   TO    )




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                                                      SECTION II
                                  DEBTOR’S(S’) CHAPTER 13 PLAN - GENERAL PROVISIONS
                                                 FORM REVISED 5/12/21

A.      SUBMISSION OF DISPOSABLE INCOME:

             Debtor(s) hereby submit(s) future earnings or other future income to the Trustee to pay the Base Amount.

B.      ADMINISTRATIVE EXPENSES, DSO CLAIMS & PAYMENT OF TRUSTEE’S STATUTORY PERCENTAGE FEE(S)
        AND NOTICING FEES:

             The Statutory Percentage Fees of the Trustee shall be paid in full pursuant to 11 U.S.C. §§ 105(a), 1326(b)(2), and 28 U.S.C. §
586(e)(1)(B). The Trustee is authorized to charge and collect Noticing Fees as indicated in Section I, Part “B” hereof.

C.      ATTORNEY FEES:

              The Standard Fee or Business Standard Fee for the Debtor’s(s’) Counsel is the amount indicated in Section I, Part C and shall be
disbursed by the Trustee in the amount shown as “Disbursed By The Trustee” pursuant to this Plan and the Debtor's(s') Authorization for
Adequate Protection Disbursements (“AAPD”), if filed. Additional Fees will be paid only after a Notice of Additional Fees and Rule 2016
Disclosure is filed with the Court to which there has been no timely objection or, if an objection is filed, after the entry of an Order by the Court
allowing the Additional Fees.

D.(1) PRE-PETITION MORTGAGE ARREARAGE:

              The Pre-Petition Mortgage Arrearage shall be paid by the Trustee in the allowed prepetition arrearage amount and at the rate of
interest indicated in Section I, Part D.(1). To the extent interest is provided, it will be calculated from the date of the Petition. The principal
balance owing upon confirmation of the Plan on the allowed pre-petition Mortgage Arrearage amount shall be reduced by the total adequate
protection less any interest (if applicable) paid to the creditor by the Trustee. Such creditors shall retain their liens.

D.(2) CURRENT POST-PETITION MORTGAGE PAYMENTS DISBURSED BY TRUSTEE IN A CONDUIT CASE:

              Current Post-Petition Mortgage Payment(s) shall be paid by the Trustee as indicated in Section I, Part D.(2), or as otherwise
provided in the General Order.

             The Current Post-Petition Mortgage Payment(s) indicated in Section I, Part D.(2) reflects what the Debtor(s) believe(s) is/are the
periodic payment amounts owed to the Mortgage Lender as of the date of the filing of this Plan. Adjustment of the Plan Payment and Base
Amount shall be calculated as set out in the General Order, paragraph 15(c)(3).

            Payments received by the Trustee for payment of the Debtor’s Current Post-Petition Mortgage Payment(s) shall be deemed
adequate protection to the creditor.

              Upon completion of the Plan, Debtor(s) shall resume making the Current Post-Petition Mortgage Payments required by their
contract on the due date following the date specified in the Trustee’s records as the date through which the Trustee made the last Current
Post-Petition Mortgage Payment .

            Unless otherwise ordered by the Court, and subject to Bankruptcy Rule 3002.1(f)-(h), if a Conduit Debtor is current on his/her Plan
Payments or the payment(s) due pursuant to any wage directive, the Mortgage Lender shall be deemed current post-petition.

D.(3) POST-PETITION MORTGAGE ARREARAGE:

             The Post-Petition Mortgage Arrearage shall be paid by the Trustee in the allowed amount and at the rate of interest indicated in
Section I, Part D.(3). To the extent interest is provided, it will be calculated from the date of the Petition.

             Mortgage Lenders shall retain their liens.

E.(1)   SECURED CLAIMS TO BE PAID BY TRUSTEE:




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              The claims listed in Section I, Part E.(1) shall be paid by the Trustee as secured to the extent of the lesser of the allowed claim
amount (per a timely filed Proof of Claim not objected to by a party in interest) or the value of the Collateral as stated in the Plan. Any amount
claimed in excess of the value shall automatically be split and treated as unsecured as indicated in Section I, Part H or J, per 11 U.S.C. § 506(a).
Such creditors shall retain their liens on the Collateral described in Section I, Part E.(1) as set out in 11 U.S.C. § 1325(a)(5)(B)(I) and shall
receive interest at the rate indicated from the date of confirmation or, if the value shown is greater than the allowed claim amount, from the date
of the Petition, up to the amount by which the claim is over-secured. The principal balance owing upon confirmation of the Plan on the allowed
secured claim shall be reduced by the total of adequate protection payments less any interest (if applicable) paid to the creditor by the Trustee.

E.(2)   SECURED 1325 (a)(9) CLAIMS TO BE PAID BY THE TRUSTEE – NO CRAM DOWN:

              Claims in Section I, Part E.(2) are either debts incurred within 910 days of the Petition Date secured by a purchase money security
interest in a motor vehicle acquired for the personal use of the Debtor(s) or debts incurred within one year of the Petition Date secured by any
other thing of value.

               The claims listed in Section I, Part E.(2) shall be paid by the Trustee as fully secured to the extent of the allowed amount (per a
timely filed Proof of Claim not objected to by a party in interest). Such creditors shall retain their liens on the Collateral described in Section I,
Part E.(2) until the earlier of the payment of the underlying debt determined under non-bankruptcy law or a discharge under § 1328 and shall
receive interest at the rate indicated from the date of confirmation. The principal balance owing upon confirmation of the Plan on the allowed
secured claim shall be reduced by the total of adequate protection payments paid to the creditor by the Trustee.

              To the extent a secured claim not provided for in Section I, Part D, E.(1) or E.(2) is allowed by the Court, Debtor(s) will pay the claim
direct per the contract or statute.

              Each secured claim shall constitute a separate class.

F.      SATISFACTION OF CLAIM BY SURRENDER OF COLLATERAL:

                The claims listed in Section I, Part F shall be satisfied as secured to the extent of the value of the Collateral, as stated in the Plan,
by surrender of the Collateral by the Debtor(s) on or before confirmation. Any amount claimed in excess of the value of the Collateral, to the
extent it is allowed, shall be automatically split and treated as indicated in Section I, Part H or J, per 11 U.S.C. § 506(a).

              Each secured claim shall constitute a separate class.

G.      DIRECT PAYMENTS BY DEBTOR(S):

              Payments on all secured claims listed in Section I, Part G shall be disbursed by the Debtor(s) to the claimant in accordance with the
terms of their agreement or any applicable statute, unless otherwise provided in Section III, “Nonstandard Provisions.”

              No direct payment to the IRS from future income or earnings in accordance with 11 U.S.C. § 1322(a)(1) will be permitted.

              Each secured claim shall constitute a separate class.

H.      PRIORITY CLAIMS OTHER THAN DOMESTIC SUPPORT OBLIGATIONS:

               Failure to object to confirmation of this Plan shall not be deemed acceptance of the “SCHED. AMT.” shown in Section I, Part H. The
claims listed in Section I, Part H shall be paid their allowed amount by the Trustee, in full, either per month or pro-rata (as indicated in Section I),
as priority claims, without interest.

I.      CLASSIFIED UNSECURED CLAIMS:

              Classified unsecured claims shall be treated as allowed by the Court.

J.      GENERAL UNSECURED CLAIMS TIMELY FILED:

              All other allowed claims not otherwise provided for herein shall be designated general unsecured claims.

K.      EXECUTORY CONTRACTS AND UNEXPIRED LEASES:

             As provided in § 1322(b)(7) of the Bankruptcy Code, the Debtor(s) assume(s) or reject(s) the executory contracts or unexpired
leases with parties as indicated in Section 1, PartK.




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             Assumed lease and executory contract arrearage amounts shall be disbursed by the Trustee as indicated in Section I, Part K.

L.      CLAIMS TO BE PAID:

              “TERM (APPROXIMATE)” as used in this Plan states the estimated number of months from the Petition Date required to fully pay
the allowed claim. If adequate protection payments have been authorized and made, they will be applied to principal as to both under-secured
and fully secured claims and allocated between interest and principal as to over-secured claims. Payment pursuant to this Plan will only be made
on statutory, secured, administrative, priority and unsecured claims that are allowed or, pre-confirmation, that the Debtor(s) has/have authorized
in a filed Authorization for Adequate Protection Disbursements.

M.      ADDITIONAL PLAN PROVISIONS:

             Any additional Plan provisions shall be set out in Section III, “Nonstandard Provisions.”

N.      POST-PETITION NON-ESCROWED AD VALOREM (PROPERTY) TAXES AND INSURANCE:

              Whether the Debtor is a Conduit Debtor or not, if the regular payment made by the Debtor to a Mortgage Lender or any other
lienholder secured by real property does not include an escrow for the payment of ad valorem (property) taxes or insurance, the Debtor is
responsible for the timely payment of post-petition taxes directly to the tax assessor and is responsible for maintaining property insurance as
required by the mortgage security agreement, paying all premiums as they become due directly to the insurer. If the Debtor fails to make these
payments, the mortgage holder may, but is not required to, pay the taxes and/or the insurance. If the mortgage holder pays the taxes and/or
insurance, the mortgage holder may file, as appropriate, a motion for reimbursement of the amount paid as an administrative claim or a Notice of
Payment Change by Mortgage Lender or a Notice of Fees, Expenses, and Charges .

O.      CLAIMS NOT FILED:

             A claim not filed with the Court will not be paid by the Trustee post-confirmation regardless of its treatment in Section I or on the
AAPD.

P.      CLAIMS FOR PRE-PETITION NON-PECUNIARY PENALTIES, FINES, FORFEITURES, MULTIPLE, EXEMPLARY
        OR PUNITIVE DAMAGES:

               Any unsecured claim for a non-pecuniary penalty, fine, or forfeiture, or for multiple, exemplary or punitive damages, expressly
including an IRS penalty to the date of the petition on unsecured and/or priority claims, shall be paid only a pro-rata share of any funds remaining
after all other unsecured claims, including late filed claims, have been paid in full.

Q.      CLAIMS FOR POST-PETITION PENALTIES AND INTEREST:

             No interest, penalty, or additional charge shall be allowed on any pre-petition claims subsequent to the filing of the petition, unless
expressly provided herein.

R.      BUSINESS CASE OPERATING REPORTS:

              Upon the filing of the Trustee’s 11 U.S.C. § 1302(c) Business Case Report, business Debtors are no longer required to file
operating reports with the Trustee, unless the Trustee requests otherwise. The filing of the Trustee’s 11 U.S.C. § 1302(c) Business Case Report
shall terminate the Trustee's duties but not the Trustee’s right to investigate or monitor the Debtor's(‘s) business affairs, assets or liabilities.

S.      NO TRUSTEE’S LIABILITY FOR DEBTOR’S POST- CONFIRMATION OPERATION AND BAR DATE FOR CLAIMS FOR
        PRE-CONFIRMATION OPERATIONS:

             The Trustee shall not be liable for any claim arising from the post-confirmation operation of the Debtor’s(s’) business. Any claims
against the Trustee arising from the pre-confirmation operation of the Debtor’s(s’) business must be filed with the Bankruptcy Court within sixty
(60) days after entry by the Bankruptcy Court of the Order of Confirmation or be barred.

T.      DISPOSAL OF DEBTOR’S NON-EXEMPT PROPERTY; RE-VESTING OF PROPERTY; NON-LIABILITY OF TRUSTEE FOR
        PROPERTY IN POSSESSION OF DEBTOR WHERE DEBTOR HAS EXCLUSIVE RIGHT TO USE, SELL, OR LEASE IT; AND
        TRUSTEE PAYMENTS UPON POST CONFIRMATION CONVERSION OR DISMISSAL:

             Debtor(s) shall not dispose of or encumber any non-exempt property or release or settle any lawsuit or claim by Debtor(s), prior to
discharge, without consent of the Trustee or order of the Court after notice to the Trustee and all creditors.


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              Property of the estate shall not vest in the Debtor until such time as a discharge is granted or the Case is dismissed or closed
without discharge. Vesting shall be subject to all liens and encumbrances in existence when the Case was filed and all valid post-petition liens,
except those liens avoided by court order or extinguished by operation of law. In the event the Case is converted to a case under chapter 7, 11,
or 12 of the Bankruptcy Code, the property of the estate shall vest in accordance with applicable law. After confirmation of the Plan, the Trustee
shall have no further authority, fiduciary duty or liability regarding the use, sale, insurance of or refinance of property of the estate except to
respond to any motion for the proposed use, sale, or refinance of such property as required by the applicable laws and/or rules. Prior to any
discharge or dismissal, the Debtor(s) must seek approval of the court to purchase, sell, or refinance real property.

              Upon dismissal of the Case post confirmation, the Trustee shall disburse all funds on hand in accordance with this Plan or pursuant
to an order of the Court. Upon conversion of the Case, any balance on hand will be disbursed by the Trustee in accordance with applicable law.

U.     ORDER OF PAYMENT:

Unless otherwise ordered by the court, all claims and other disbursements made by the Chapter 13 Trustee after the entry of an order confirming
the Chapter 13 Plan, whether pursuant to this Plan or a modification thereof, will be paid in the order set out below, to the extent a creditor’s
claim is allowed or the disbursement is otherwise authorized. Each numbered paragraph below is a level of payment. All disbursements which
are in a specified monthly amount are referred to as “per mo.” At the time of any disbursement, if there are insufficient funds on hand to pay any
per mo payment in full, claimant(s) with a higher level of payment shall be paid any unpaid balance owed on a per mo payment plus the current
per mo payment owed to that same claimant, in full, before any disbursement to a claimant with a lower level of payment. If multiple claimants
are scheduled to receive per mo payments within the same level of payment and there are insufficient funds to make those payments in full,
available funds will be disbursed to the claimants within that level on a pro-rata basis. Claimants with a higher level of payment which are
designated as receiving pro-rata payments shall be paid, in full, before any disbursements are made to any claimant with a lower level of
payment.

1st – Clerk’s Filing Fee and Trustee’s Percentage Fee(s) and Noticing Fees in B.(1) and B.(2) and per statutory provisions will be paid in full.

2nd – Current Post-Petition Mortgage Payments (Conduit) in D.(2) and as adjusted according to the General Order, which must be designated to
be paid per mo.

3rd – Creditors listed in E.(1)(A) and E.(2)(A), which must be designated to be paid per mo, and Domestic Support Obligations (“DSO”) in B.(3),
which must be designated to be paid per mo.

4th – Attorney Fees in C, which must be designated to be paid pro-rata.

5th – Post-Petition Mortgage Arrearage as set out in D.(3), if designated to be paid per mo.

6th – Post-Petition Mortgage Arrearage as set out in D.(3), if designated to be paid pro-rata.

7th – Arrearages owed on Executory Contracts and Unexpired Leases in K, which must be designated to be paid per mo.

8th – Any Creditors listed in D.(1) if designated to be paid per mo.

9th – Any Creditors listed in D.(1), if designated to be paid pro-rata and/or Creditors listed in E.(1)(B) or E.(2)(B), which must be designated to be
paid pro-rata.

10th – All amounts allowed pursuant to a Notice of Fees, Expenses and Charges, which will be paid pro-rata.

11th – Priority Creditors Other than Domestic Support Obligations (“Priority Creditors”) in H., which must be designated to be paid as either
pro-rata or per mo.

12th – Special Class in I, which must be designated to be paid per mo.

13th – Unsecured Creditors in J, other than late filed or penalty claims, which must be designated to be paid pro-rata.

14th – Late filed claims by Secured Creditors in D.(1), D.(2), D.(3), E.(1) and E.(2), which must be designated to be paid pro-rata, unless other
treatment is authorized by the Court.

15th – Late filed claims for DSO or filed by Priority Creditors in B.(3) and H, which must be designated to be paid pro-rata.



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Debtor(s): Lockridge, Vincente Dwyne                                                               Case No.: 23-41975-MXM-13


16th – Late filed claims by Unsecured Creditors in J, which must be designated to be paid prorata.

17th – Unsecured claims for a non-pecuniary penalty, fine, or forfeiture, or for multiple, exemplary or punitive damages, expressly including an
IRS penalty to the date of the petition on unsecured and/or priority claims. These claims must be designated to be paid pro-rata.

V.     POST-PETITION CLAIMS:

              Claims filed under § 1305 of the Bankruptcy Code shall be paid as allowed. To the extent necessary, Debtor(s) will modify this Plan.

W.     TRUSTEE’S RECOMMENDATION CONCERNING CLAIMS (“TRCC”) PROCEDURE:

              See the provisions of the General Order regarding this procedure.

                                                            SECTION III
                                                      NONSTANDARD PROVISIONS

The following nonstandard provisions, if any, constitute terms of this Plan. Any nonstandard provision placed elsewhere in the Plan is void.




I, the undersigned, hereby certify that the Plan contains no nonstandard provisions other than those set out in this final paragraph.

               /s/ Marcus Leinart
Marcus Leinart                                                             Debtor (if unrepresented by an attorney)
Debtor’s(s’) Attorney


Debtor’s (s’) Chapter 13 Plan (Containing a Motion for Valuation ) is respectfully submitted.

               /s/ Marcus Leinart                                                               00794156
Marcus Leinart                                                             State Bar Number
Debtor’s(s’) Counsel

        /s/ Vincente Dwyne Lockridge
Vincente Dwyne Lockridge                                                   Joint Debtor
Debtor




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                                                 United States Bankruptcy Court
                                                   Northern District Of Texas

In re    Lockridge, Vincente Dwyne                                                                Case No.         23-41975-MXM-13

                                                                                                  Chapter          13
                     Debtor(s)

                                                    CERTIFICATE OF SERVICE

I, the undersigned, hereby certify that the foregoing Debtor’s(s’) Chapter 13 Plan (Containing a Motion for Valuation) was served on the
                                                                                                  th
following entities either by Electronic Service or by First Class Mail, Postage Pre-paid on the 19    day of        July       , 20 23 :

(List each party served, specifying the name and address of each party)



Dated:           07/19/2023                                                                     /s/ Marcus Leinart
                                                                                  Marcus Leinart
                                                                                  Debtor or Debtor’s(s’) Counsel
                                                                                  Bar Number: 00794156
                                                                                  Leinart Law Firm
                                                                                  10670 N Central Expy Ste 320
                                                                                  Dallas, TX 75231-2173
                                                                                  Phone: (469) 232-3328
                                                                                  Email: marcus@leinartlaw.com



  Affirm, Inc.                                   Attorney General of Texas                          Bank of America
  Attn: Bankruptcy                               Collections Div/Bankruptcy Sec                     Attn: Bankruptcy Dept
  30 Isabella St, Floor 4                        PO Box Box 12548                                   PO Box 982234
  Pittsburgh, PA 15212                           Austin, TX 78711-2548                              El Paso, TX 79998



  Comenity/Cosmo Prof                            Comptroller of Public Accounts                     Credit One Bank
  Attn: Bankruptcy                               Revenue Accounting/Bankruptcy Div                  Attn: Bankruptcy Department
  PO Box 182125                                  PO Box 13528                                       PO Box 98873
  Columbus, OH 43218                             Austin, TX 78711                                   Las Vegas, NV 89193



  Crescent Bank & Trust, Inc.                    Crest Financial                                    Dallas County Tax Assessor/Collector
  Attn: Bankruptcy                               Attn: Bankruptcy                                   John R. Ames, CTA
  PO Box 61813                                   61 West 13490 South                                PO Box 139066
  New Orleans, LA 70161                          Draper, UT 84020                                   Dallas, TX 75313-9066



  DSRM Nat Bank/Valero                           Internal Revenue Service                           Leinart Law Firm
  Attn: Bankruptcy                               Centralized Insolvency Operations                  10670 N Central Expy Ste 320
  PO Box 696000                                  Po Box 7346                                        Dallas, TX 75231-2173
  San Antonio, TX 78260                          Philadelphia, PA 19101-7346



  Linebarger Goggan Blair & Sampson LLP          Midland Funding/Midland Credit Mgmt                Navy FCU
  2777 N Stemmons Fwy Ste 1100                   Attn: Bankruptcy                                   Attn: Bankruptcy
  Dallas, TX 75207-2513                          PO Box 939069                                      PO Box 3000
                                                 San Diego, CA 92193                                Merrifield, VA 22119




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  Owings Auto Centers                 Personify Financial                        Pnix Rec Grp
  519 E Division St                   Attn: Bankruptcy Department                1045 Cheever Blvd
  Arlington, TX 76011                 PO Box 208417                              San Antonio, TX 78217
                                      Dallas, TX 92150



  Possible Finance                    Texas Alcoholic Beverage Commission        Texas Workforce Commission
  2231 First Avenue Suite B           Licenses and Permit Division               TEC Building-Bankruptcy
  Seattle, WA 98121                   PO Box 13127                               101 E 15th St RM 370
                                      Austin, TX 78711-3127                      Austin, TX 78778-0001



  United States Attorney General      United States Trustee                      United States Trustee - Eastern
  Department of Justice               Rm 9C60 1100 Commerce St                   110 N College Ave
                                      Dallas, TX 75242                           Tyler, TX 75702-0204
  10 and Constitution, NW
  Washington, DC 20530-0001


  Vincente Dwyne Lockridge            Westcreek Fi
  4328 Endicott Dr                    Attn: Bankruptcy
  Grand Prairie, TX 75052             Po Box 5518
                                      Glen Allen, VA 23058




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Leinart Law Firm
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Phone: (469) 232-3328
Email: marcus@leinartlaw.com
                                            IN THE UNITED STATES BANKRUPTCY COURT
                                                  NORTHERN DISTRICT OF TEXAS
                                                      FORT WORTH DIVISION
                                                                Revised 10/1/2016


IN RE:    Lockridge, Vincente Dwyne                       xxx-xx-6931    §            CASE NO: 23-41975-MXM-13
          4328 Endicott Dr
          Grand Prairie, TX 75052                                        §            Chapter 13

                                                                         §

                                                                         §

                                                                         §
                                             Debtor(s)


AUTHORIZATION FOR ADEQUATE PROTECTION DISBURSEMENTS                                                DATED:        07/19/2023

The undersigned Debtor(s) hereby request that payments received by the Trustee prior to confirmation be disbursed as indicated below:

 Periodic Payment Amount                                                                                                                      $375.00

 Disbursements                                                                                      First (1)                       Second (2) (Other)

 Account Balance Reserve                                                                              $5.00                       $5.00 carried forward

 Trustee Percentage Fee                                                                              $31.94                                     $37.50

 Filing Fee                                                                                           $0.00                                      $0.00

 Noticing Fee                                                                                         $0.00                                      $0.00

 Subtotal Expenses/Fees                                                                              $36.94                                     $37.50

 Available for payment of Adequate Protection, Attorney Fees and
                                                                                                    $338.06                                   $337.50
 Current Post-Petition Mortgage Payments:

CREDITORS SECURED BY VEHICLES (CAR CREDITORS):

                                                                                                                    Adequate                Adequate
                                                                                  Scheduled          Value of       Protection              Protection
 Name                          Collateral                                           Amount          Collateral     Percentage          Payment Amount

                               2015 Chevrolet Camaro SS
 Crescent Bank & Trust, Inc.   VIN: 2G1FH1EJ4F9132678                             $12,216.94       $17,800.00           1.25%                   $222.50

                                                    Total Adequate Protection Payments for Creditors Secured by Vehicles:                      $222.50

CURRENT POST-PETITION MORTGAGE PAYMENTS (CONDUIT):

                                                                                                    Scheduled         Value of
 Name                          Collateral                                           Start Date        Amount         Collateral        Payment Amount


                                                          Payments for Current Post-Petition Mortgage Payments (Conduit):                        $0.00




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Debtor Lockridge, Vincente Dwyne                                                               Case number 23-41975-MXM-13


CREDITORS SECURED BY COLLATERAL OTHER THAN A VEHICLE:

                                                                                                                   Adequate             Adequate
                                                                                   Scheduled          Value of     Protection           Protection
 Name                         Collateral                                             Amount          Collateral   Percentage       Payment Amount


                              Total Adequate Protection Payments for Creditors Secured by Collateral other than a vehicle:                   $0.00


                                                   TOTAL PRE-CONFIRMATION PAYMENTS

First Month Disbursement (after payment of Clerk's Filing Fee, any Noticing Fee, Chapter 13 Trustee
Percentage Fee, and retention of the Account Balance Reserve):

         Current Post-Petition Mortgage Payments (Conduit payments), per mo:                                                                 $0.00

         Adequate Protection to Creditors Secured by Vehicles ("Car Creditor"), per mo:                                                    $222.50

         Debtor's Attorney, per mo:                                                                                                        $115.00

         Adequate Protection to Creditors Secured by other than a Vehicle, per mo:                                                           $0.00

Disbursements starting month 2 (after payment of Clerk's Filing Fee, any Noticing Fee, Chapter 13
Trustee Percentage Fee, and retention of the Account Balance Reserve):

         Current Post-Petition Mortgage Payments (Conduit payments), per mo:                                                                 $0.00

         Adequate Protection to Creditors Secured by Vehicles ("Car Creditor"), per mo:                                                    $222.50

         Debtor's Attorney, per mo:                                                                                                        $115.00

         Adequate Protection to Creditors Secured by other than a Vehicle, per mo:                                                           $0.00

Order of Payment:

Unless otherwise ordered by the court, all claims and other disbursements made by the Chapter 13 Trustee prior to entry of an order confirming
the Chapter 13 Plan will be paid in the order set out above. All disbursements which are in a specified monthly amount are referred to as "per
mo". At the time of any disbursement, if there are insufficient funds on hand to pay any per mo payment in full, claimant(s) with a higher level of
payment shall be paid any unpaid balance owed on the per mo payment plus the current per mo payment owed to that same claimant, in full,
before any disbursement to a claimant with a lower level of payment. Other than the Current Post-Petition Mortgage Payments, the principal
balance owing upon confirmation of the Plan on the allowed secured claim shall be reduced by the total of adequate protection payments, less
any interest (if applicable), paid to the creditor by the Trustee.



DATED:           07/19/2023


                   /s/ Marcus Leinart
Attorney for Debtor(s)




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